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 8                              UNITED STATES DISTRICT COURT

 9                        FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,                   No. 8:21-cr-00074-JLS

11                Plaintiff,                     I N F O R M A T I O N

12                v.                             [26 U.S.C. § 7202: Willful Failure
                                                 to Pay Over Withheld Taxes]
13   JAGAT WALIA,

14                Defendant.

15

16           The Acting United States Attorney charges:
17                         [26 U.S.C. § 7202; 18 U.S.C. § 2(b)]
18           On or about April 17, 2018, in Orange County, within the Central
19   District of California, defendant JAGAT WALIA willfully failed and
20   willfully caused Visiting Nurse Association of Orange County, LLC
21   (“VNA”) to fail to pay over to the United States, namely, the
22   Internal Revenue Service, all of the federal income taxes and FICA
23   //
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       Case 8:21-cr-00074-JLS Document 1 Filed 04/23/21 Page 2 of 2 Page ID #:2



 1   taxes (i.e., trust fund taxes) that VNA withheld from VNA employees’

 2   total taxable wages, which were due and owing to the United States,

 3   namely, $240,581 for the second quarter of 2017.

 4                                          TRACY L. WILKISON
                                            Acting United States Attorney
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 7
                                            BRANDON D. FOX
 8                                          Assistant United States Attorney
                                            Chief, Criminal Division
 9
                                            BENJAMIN R. BARRON
10                                          Assistant United States Attorney
                                            Chief, Santa Ana Branch Office
11
                                            DANIEL H. AHN
12                                          Assistant United States Attorney
                                            Deputy Chief, Santa Ana Branch
13                                          Office
14                                          ROSALIND WANG
                                            Assistant United States Attorney
15                                          Santa Ana Branch Office
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